Case 1:21-cr-00582-CRC Document 82 Filed 04/19/22 Page 1 of 2
          Case 1:21-cr-00582-CRC Document 82 Filed 04/19/22 Page 2 of 2




affected by the disclosure of allegedly privileged materials may intervene in pending criminal

proceedings.”) (collecting cases). Federal courts permit third parties to intervene in criminal

proceedings in certain circumstances, including for the protection of privilege. United States v.

Scully, No. SA:10-cr-00593, at *2 (W.D. Tex. July 2, 2013).

       For the foregoing reasons, Perkins respectfully requests that the Court allow it to intervene

for this limited purpose.



                                             Respectfully submitted,


Dated: April 18, 2022                By:     /s/ F. Joseph Warin

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